  Case 2:96-cr-80274-PJD ECF No. 462, PageID.5933 Filed 11/20/07 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,
       v.                                         CR. NO. 96-80274

                                                  HONORABLE PATRICK J. DUGGAN
D-4    WAYNE CARRICK, et al.,

                     Defendant.
                                     /


              ORDER FOR TRAVEL AND SUBSISTENCE EXPENSES


       Upon the application of Defendant, WAYNE CARRICK, for round-trip travel and

subsistence expenses, pursuant to 18 U.S.C. § 4285, and the Court being aware of Defendant’s

indigence;

       IT IS HEREBY ORDERED, that the U.S. Marshal furnish Defendant Wayne Carrick

round-trip, non-custodial transportation from Vancouver, Canada to Windsor, Ontario on

Tuesday, December 4, 2007, for purposes of appearing in court for sentencing on December 5,

2007 at 2:30 p.m.


                                          S/PATRICK J. DUGGAN
                                          United States District Judge
Entered: November 20, 2007
